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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION

LASHANDA WILLIAMS,                                   )
                                                     )
       Plaintiff,                                    )      Case No.: 1:18-cv-01657-DDD-JPM
                                                     )
v.                                                   )
                                                     )
ST. GENEVIVE HEALTH CARE                             )
SERVICES, INC.,                                      )
                                                     )
       Defendant.                                    )
                                                     )

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Lashanda Williams, through her undersigned counsel, files this Notice of
Voluntary Dismissal of this case with prejudice in accordance with Rule 41(a)(1) of the Federal
Rules of Civil Procedure, each side to bear its own costs and attorneys’ fees.


       Dated: February 26, 2019                              Respectfully submitted,

                                                             _/s/_Jennifer Solak_______
                                                             Jennifer Solak
                                                             Louisiana Bar Roll # 29979
                                                             LEMBERG LAW, LLC
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                                                             Attorney for Plaintiff
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                              CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2019, a true and correct copy of the foregoing
Notice of Voluntary Dismissal was served electronically by the U.S. District Court for the
Western District of Louisiana Electronic Document Filing System (ECF) and that the document
is available on the ECF system.



                                          By_/s/ Jennifer Solak_________

                                               Jennifer Solak, Esq.
